'D Case-Z:OZ-cr-ZOMS-BBD Document462 Filed 08/12/05 PagelofB Page|D 304

a
w nr...@i?(-~"""o Fu.s.o e/__Q&b_o`c.

05 mg \2 Pll 2’ m IN THE UNITED sTATEs DISTRICT CoURT 2005 JUH 23 PM 2= li3
FoR THE WESTERN DISTRICT oF TENNEssEE

Mibl\AGOU-D WESTERN DIVISI()N ROBEW.H. 13 '-:’i`-€.”‘WL§O
M§SUSWM cLEai<, us -':):sr.. cr
UNU.EW\WB §%WOF AMERICA * W.o. oF m reams-ns
Plaintiff, * Crim. No. 02-20448-D/P
v. *
N GRANTED
JOHN E. MADISON, SR., and * MDOAT!O ""

   
   

WILLlEANN D. MADISON,

Defendants. _ERN|CE BOU|E DONALD

* U.S. DISTRICT JUDGE

 

GOVERNMENT’S UNOPPOSED MO'I`ION FOR CONTINUANCE
OF HEARING ON MOTION TO SE'I` HEARING AND DISPOSE OF PETITION
AND MO'I`ION FILED BY MEMPHIS FIRST COMMUNITY BANK

 

COMES NOW the United States of America, by and through Terrell L. Harris, United States
Attorney, and Christopher E. Cotten, Assistant United States Attorney for the Western District of
Tennessee, and respectfully moves that this Honorable Court continue the hearing on petitioner’s
Motion to Set Hearing and Dispose of Petition and Motion Filed By Memphis First Community
Bank. In support of this motion, the United States would show the following:

l . A hearing on the above-styled motion of petitioner Mernphis First Community Bank
is currently set for Friday, July l, 2005 at 9:00 a.m.

2. Undersigned government counsel has the primary responsibility for litigating
forfeiture issues in this case, and is in fact the only attorney for the government in this district

competent to deal with matters relating to criminal forfeiture

This doeum \
. ` n went entered on the docket sheet In compliance 1 `A
with Hule o:‘ and/or 32(£;)) FRCrP on g ’ 1!2 '05 @

Case 2:02-cr-20448-BBD Document 462 Filed 08/12/05 Page 2 of 5 Page|D 305

3. Government counsel has long been scheduled to be on leave from .lune 24 through
July 5, 2005, and has non-refundable vacation plans for that time period. Government counsel is
also currently set to be in trial in Jackson on July ll and 12, 2005.

4. Government counsel has consulted with Ms. Lori Hacklernan Patterson, co-counsel
for petitioner Memphis First Comrnunity Bank, and petitioner does not oppose the requested

continuance, as both of petitioner’s counsel will likewise be on vacation on July l.

Case 2:02-cr-20448-BBD Document 462 Filed 08/12/05 Page 3 of 5 Page|D 306

CONCLUSION
For the foregoing reasons, the United States respectfully requests that the instant petition be
set for a scheduling conference at which deadlines for discovery and potentially dispositive motions
would be set, as well as the date for an ancillary hearing.
Respectfully submitted,

TERRELL L. HARRJS
United States Attorney

W“£&M

(§)IRISTOPHER E COTTEN
Assistant United States Attomey
800 Federal Building

Mernphis, Tennessee 38103
(901) 544-4231

#014277 (Tennessee)

CERTIFICATE OF SERVICE
I, Christopher E. Cotten, Assistant United States Attorney for the Western District of
Tennessee, hereby certify that a copy of the foregoing response has been sent, first class postage pre-

paid, to Mr. Allan J. Wade, attorney for the Petitioner.

rinsz of ma ,2005.

CHizisToPHER E. CoTTEN
Assistant United States Attorney

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 462 in
case 2:02-CR-20448 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Tony L. AXam

LAW OFFICE OF TONY L. AXAM
1280 W. Peachtree St.

Ste. 3 10

Atlanta, GA 30309

Lori Hacklernan Patterson
ALLAN J. WADE, PLLC.
119 S. Main St.

Ste. 700

1\/lemphis7 TN 38103

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Allan J. Wade

ALLAN J. WADE, PLLC.
119 S. Main St.

Ste. 700

1\/lemphis7 TN 38103

Mitzi H. Spell
BETSERAI & SPELL
100 N. Main St.

Ste. 901

1\/lemphis7 TN 38103

Case 2:02-cr-20448-BBD Document 462 Filed 08/12/05 Page 5 of 5 Page|D 308

Brandy S. Parrish
ALLAN J. WADE, PLLC.
119 S. Main St.

Ste. 700

1\/lemphis7 TN 38103

Michelle L. Betserai
BETSERAI & SPELL
100 N. Main St.

Ste. 901

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

